           Case No. 1:23-cv-02355-CNS-KAS                        Document 89-3 filed 01/17/25                USDC Colorado
1/16/25, 11:05 PM                                                 pg 1 ofPrint
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   Lookup Detail View
   Licensee Information
   This serves as primary source verification* of the license.
   *Primary source verification: License information provided by the Colorado Division of Professions and Occupations, established by 24-
   34-102 C.R.S.

    Name                                                                  Public Address

    Peter Brice Crum                                                      Littleton, CO 80123



   License Information
   Some Physician Licensees have converted their Active Physician license to an Active Compact Physician License.
   This is noted below by the status label: Transferred to Compact Physician. If this status is present, then you may
   verify the license by searching for the license using the prefix "CDRH" and the Licensees Name on our Online
   Services page (https://apps.colorado.gov/dora/licensing/Lookup/LicenseLookup.aspx).

    License                License            License            License           Original Issue      Effective        Expiration
    Number                 Method             Type               Status            Date                Date             Date

    DR.0032714             Original           Physician          Active            07/15/1993          05/01/2023       04/30/2025



   Board/Program Actions

    Discipline

    There is no Discipline or Board Actions on file for this credential.



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           Case No. 1:23-cv-02355-CNS-KAS                        Document 89-3 filed 01/17/25            USDC Colorado
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            Case No. 1:23-cv-02355-CNS-KAS                       Document 89-3 filed 01/17/25                      USDC Colorado
1/16/25, 11:07 PM                                                 pg 3 ofPrint
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   Lookup Detail View
   Licensee Information
   This serves as primary source verification* of the license.
   *Primary source verification: License information provided by the Colorado Division of Professions and Occupations, established by 24-34-102
   C.R.S.

    Name                                                                            Public Address

    Alice Mukamugemanyi                                                             Aurora, CO 80018



   License Information
   To become licensed in Colorado, all Licensed Practical Nurses must submit proof of successful completion of an Approved
   Nursing Education Program and proof of passing the NCLEX examination or its approved predecessor.

                                                                                                                   Primary         Nurse
    License           License           License      License      Original        Effective        Expiration      State of        Compact
    Number            Method            Type         Status       Issue Date      Date             Date            Residence       Designation

    PN.0336367        Examination       Licensed     Active       10/06/2020      09/01/2024       08/31/2026      CO              Multi-State
                                        Practical
                                        Nurse



   Authority Information

    Authority Number             Authority Type                      Original Issue Date            Effective Date          Expiration Date

    IV.2788418                   Intravenous Certification           02/11/2021                     11/14/2024              08/31/2026



   Board/Program Actions

    Discipline

    There is no Discipline or Board Actions on file for this credential.



   Other Colorado License Records
   The below license records are also on file with the Division of Professions and Occupations. For additional information, use
   our License Verification Search Screen (https://apps.colorado.gov/dora/licensing/Lookup/LicenseLookup.aspx) and enter the
   License Type and Number below in the search criteria.

    License                                                      License             Original Issue          Effective           Expiration
    Number                 License Type                          Status              Date                    Date                Date

    NA.00767110            Certified Nurse Aide                  Expired             05/22/2015              02/01/2021          01/31/2023

    T-PN.0000084           Temporary - Licensed                  Expired             06/30/2020              06/30/2020          10/06/2020
                           Practical Nurse



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1/16/25, 11:09 PM                                                  pg 6 ofPrint
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   Lookup Detail View
   Licensee Information
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   *Primary source verification: License information provided by the Colorado Division of Professions and Occupations, established by 24-34-102
   C.R.S.

    Name                                                                              Public Address

    Berenice Chavarria Torres                                                         Brighton, CO 80601



   License Information
   To become licensed in Colorado, all Licensed Practical Nurses must submit proof of successful completion of an Approved
   Nursing Education Program and proof of passing the NCLEX examination or its approved predecessor.

                                                                                                                   Primary         Nurse
    License           License           License      License      Original        Effective        Expiration      State of        Compact
    Number            Method            Type         Status       Issue Date      Date             Date            Residence       Designation

    PN.0335295        Examination       Licensed     Active       02/14/2019      09/01/2024       08/31/2026      CO              Multi-State
                                        Practical
                                        Nurse



   Authority Information

    Authority Number             Authority Type                      Original Issue Date            Effective Date          Expiration Date

    IV.2787752                   Intravenous Certification           02/15/2019                     09/01/2024              08/31/2026



   Board/Program Actions

    Discipline

    There is no Discipline or Board Actions on file for this credential.



   Other Colorado License Records
   The below license records are also on file with the Division of Professions and Occupations. For additional information, use
   our License Verification Search Screen (https://apps.colorado.gov/dora/licensing/Lookup/LicenseLookup.aspx) and enter the
   License Type and Number below in the search criteria.

    License Number          License Type                License Status        Original Issue Date        Effective Date       Expiration Date

    NA.00755420             Certified Nurse Aide        Expired               05/30/2013                 02/01/2019           01/31/2021



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1/16/25, 11:08 PM                                                  pg 7 ofPrint
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   Lookup Detail View
   Licensee Information
   This serves as primary source verification* of the license.
   *Primary source verification: License information provided by the Colorado Division of Professions and Occupations, established by 24-34-102 C.R.S.

    Name                                                                         Public Address

    Melissa Susan Brokaw                                                         Thornton, CO 80602



   License Information
   To become licensed in Colorado, all Registered Nurses must submit proof of successful completion of an Approved Nursing
   Education Program and proof of passing the NCLEX examination or its approved predecessor.

                                                                                                                     Primary         Nurse
    License           License           License        License      Original         Effective       Expiration      State of        Compact
    Number            Method            Type           Status       Issue Date       Date            Date            Residence       Designation

    RN.1630760        Examination       Registered     Active       12/09/2014       10/01/2024      09/30/2026      CO              Multi-State
                                        Nurse



   Board/Program Actions

    Discipline

    There is no Discipline or Board Actions on file for this credential.



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   Lookup Detail View
   Licensee Information
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   *Primary source verification: License information provided by the Colorado Division of Professions and Occupations, established by 24-34-102 C.R.S.

    Name                                                                Public Address

    Isaac Ngure Karugu                                                  Aurora, CO 80016-7544



   License Information
   To become licensed in Colorado, all Registered Nurses must submit proof of successful completion of an Approved Nursing
   Education Program and proof of passing the NCLEX examination or its approved predecessor.

                                                                    Original                                         Primary         Nurse
    License           License           License        License      Issue           Effective        Expiration      State of        Compact
    Number            Method            Type           Status       Date            Date             Date            Residence       Designation

    RN.0200298        Examination       Registered     Active       06/09/2011      10/01/2023       09/30/2025      CO              Multi-State
                                        Nurse



   Board/Program Actions

    Discipline

    There is no Discipline or Board Actions on file for this credential.



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   License Type and Number below in the search criteria.

    License Number          License Type                    License Status        Original Issue Date       Effective Date       Expiration Date

    NA.00713559             Certified Nurse Aide            Expired               02/15/2006                02/15/2006           01/31/2008

    PN.0044415              Licensed Practical Nurse        Expired               12/01/2006                07/01/2010           08/31/2012



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